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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF RHODEISLAND

UNITED STATES OF AMERICA
                                                 Crimhal Case No 17108-S
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JUSIIN DAヽ ■S′
             Defendant



                                     PLEAAGREEMENT

       Pursuant to Rule 11(c)(1) of the Federal Rules of Criminal Procedure, the United

States and Defendant, |USTIN DAVIS, have reached the following agreement:

       1.     Defendant's Obligations.

              a.   Defendant will plead guilty to a single Count Indictment, which

charges Defendant with bank robbery, in violation of 18 U.S.C. $ 2113(a).

              Defendant further agrees that the time between the filing of this plea

agreement and the scheduled date for the change of plea is excludable under the Speedy

Trial Act, 18 U.S.C.   S 3161.


              b.   Defendant further agrees:

                       (i) to forfeit all interest in $3,470 in U.S. Currency that Defendant

previously had in his possession, and any property Defendant has transferred,        as   well   as


any property that is traceable to, derived from, fungible with, or a substitute for property

that constitutes the proceeds of Defendant's offense, including but not limited to the

$3,470 in U.S. Currency.
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                        (ii)   to waive all constitutional and statutory challenges in any

manner (including direct appeal, habeas corpus, or any other meals) to any forfeiture

carried out in accordance with this plea agreement on any grounds, including that the

forfeiture constitutes an excessive fine or punishment. Defendant also understands and

agrees that by virtue of his plea of guilty he waives any rights or cause of action to claim

that he is a "substantially prevailing party" for the purpose of recovery of attomey fees

and other litigation costs in any related forfeiture proceeding pursuant to 28 U.S.C.

s 246s(b)(1).


        2.      Government's Obligations. ln exchange for Defendant's plea of guilty:

                a.   The government will recommend that the Court impose a term of

imprisonment at the lowest end of sentences for the offense level determined by the

Court under the United States Sentencing Guidelines (the U.S.S.G. or "guidelines"), but

not including probation or a "split-sentence," even if permitted under the guidelines.

                b.   For purposes of determining the offense level, the government aSrees to

recommend a two-level reduction in the offense level for acceptance of responsibility

under   S 3E1.1(a)   of the guidelines if Defendant continues to demonstrate acceptance of

responsibility through sentencing.

                c.   As of the date of this agreement, Defendant has timely notified

authorities of an intention to enter a plea of    guilty. If the offense level is 16 or greater
and Defendant enters a plea of guilty pursuant to this agreement, the Sovemment            will
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move the sentencinS Court for an additional decrease of one level, pursuant to U.S.S.G.         S

3E1.1(b), unless Defendant indicates an intention not to enter a plea of guilty, thereby

requiring the government to prepare for trial.

              d.   The goverrunent is free to recommend any combination of supervised

release, fines, and restitution which it deems appropriate.

       3.     Defendant understands that the guidelines are not binding on the Court,

and that, although the Court must consult the guidelines in fashioning any sentence in

this case, the guidelines are only advisory, and the Court may impose any reasonable

sentence in this matter up to the statutory maximum penalties after taking into account

the factors enumerated in 18 U.S.C.   S 3553(a).


       4.     The maximum statutory penalties for the offense to which Defendant is

pleading is 20 years imprisonment; a fine of $ 250,000; a term of supervised release of 3

years; a mandatory special assessment of $100.

       5.     Defendant agrees that, after Defendant and Defendant's counsel sign this

plea agreement, counsel   will return it to the United   States Attomey's Office along   with   a

money order or certified check, payable to the Clerk, United States District Court, in

payment of the special assessments. Failure to do so, unless the Court has made          a


previous finding of indigence, will relieve the govemment of its obligation to

recommend a reduction in the offense level under the guidelines for acceptance of

responsibility.



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                  Defendant is advised and understands that:

                 a.   The govemment has the right, in a prosecution for perjury or making a

false statement, to use against Defendant any statement that Defendant gives under oath;

                 b.   Defendant has the right to plead not guilty, or having already so

pleaded, to persist in that plea;

                 c.   Defendant has the right to         a   jury trial;

                 d.   Defendant has the right to be represented by counsel           - and if necessary

have the Court appoint counsel             -   at trial and every other stage of the proceeding;

                 e.   Defendant has the right at trial to confront and cross-examine adverse

witnesses, to be protected from self-incrimination, to testify and present evidence, and to

compel the attendance of witnesses; and

                 f.   Defendant waives these trial rights if the Court accepts a plea of guilty.

                 g.   Defendant recognizes that pleading guilty may have consequences with

respect to his immigration status if he is not a citizen of the United States. Under federal

law,   a   broad range of crimes are removable or deportable offenses. Likewise,             if
defendant is a naturalized citizen of the United States, pleading guilty may result in

denaturalization      as   well   as   removal and deportation. Removal, deportation,

denaturalization, and other immigration consequences are the subject of separate

proceedings, however, and defendant understands that no one, including his attorney or

the district court, can predict to a certainty the effect of his conviction on his immigration



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status. Defendart nevertheless affirms that he wants to plead guilty regardless of any

immigration consequences that his plea may entail, even if the consequence is his

removal or deportation from the United States or his denaturalization.

          7   .   The government reseryes its   full right of allocution, including the right to

present any information to the Court for its consideration in fashioning an appropriate

sentence, the right to correct misstatements, misrepresentations, or omissions by

Defendant, and to answer any questions asked by the Court.

          8.      Defendant understands that the Court alone makes all sentencing decisions,

including the application of the guidelines and the sentence to be imposed. The Court is

not bound by the parties' stipulations of fact, offense level adjustments, or the

government's recommendations. The Court is free to impose any sentence it deems

appropriate up to and including the statutory maximum. Defendant also understands

that even if the Court's guideline determinations and sentence are different than

Defendant expects, Defendant will not be allowed to withdraw Defendant's plea of

guilty.

          9.      Defendant hereby waives Defendant's right to appeal the conviction and

sentence imposed by the Court, if the overall sentence imposed by the Court is at the low

end of the applicable guideline range or    below.     This agreement does not affect the

rights or obligations of the United States as set forth in 18 U.S.C.    S 3742(b),   and the

government retains its right to appeal any of the Court's sentencing determinations.




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        10.       This agreement is binding on the government only if Defendant pleads

guilty, fulfills all Defendant's obligations under the agreement, does not engage in any

conduct constituting obstruction of justice under       S 3C1.1   of the guidelines, and does not

commit any new offenses. Defendant understands that if Defendant violates this

agreement in any way, the govemment shall be released from its obligations under the

agreement and will be free to make any recommendations that it deems appropriate.              If

that occurs, Defendant shall not have the right to withdraw Defendant's guilty plea.

        11.       This agreement is limited to the District of Rhode Island and does not bind

any other federal, state, or local prosecutive authorities.

        1.2.      This agreement constitutes the entire agreement between the      parties. No

other promises or inducements have been made conceming the plea in this case.

Defendant acknowledges that no person has, directly or indirectly, threatened or coerced

Defendant to enter this agreement. Any additions, deletions, or modifications to this

agreement must be made in writing and signed by all the parties in order to be effective.

        13.       Counsel for Defendant states that Counsel has read this agreement, been

given   a   copy of it for Counsel's file, explained it to Defendant, and states that to the best

of Counsel's knowledge and belief, Defendant understands the agreement.
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       74.    Defendant states that Defendant has read the agreement or has had it read

to Defendan! has discussed it with Defendant's Counsel, understands it, and agrees to its

provisions.




Assistaryt U.S. Attorney



 ANDRA R HEBERT

Deputy Chief, Criminal Division




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